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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

DONALD TANNEHILL, on behalf of
himself and all others similarly situated                        PLAINTIFF

v.                       No. 3:19-cv-140-DPM

SIMMONS BANK                                                    DEFENDANT

                             JUDGMENT
     This case is dismissed without prejudice.



                                                            f
                                 D.P. Marshall Jr.
                                 United States District Judge

                                    13   ?vk;   ;).{)J._O
